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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                  LAKE CHARLES DIVISION

  DOUGLAS SONNIER,                                               Case No. 2:20-CV-00002-JDC-KK

  v.
                                                                 JURY TRIAL DEMANDED
  RECON MANAGEMENT SERVICES, INC



                RULE 41 STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Rule 41(a)(1)(A)(ii), the Parties stipulate to the dismissal of this case with prejudice.

 Plaintiff, Douglas Sonnier, and all Opt-in Plaintiffs, including but not limited to, Lloyd Higginbotham,

 Scott Sandifer, Warren Bailey, Sterling Gill, Lance Hawkins, Carrie Johnson, Clarice Neitzel, Merwyn

 Wright, Nick Cuccio, Jr., Daniel Smith, Glenn Campbell, and Michael Abshire, are dismissing their

 claims with prejudice. Further, Defendant, ReCon Management Services, Inc., and ReCon

 Engineering, Inc., is dismissing any claims against Plaintiff or the Opt-in Plaintiffs that could have

 been asserted in this matter. The Parties further stipulate that both parties are to bear their own fees

 and costs. A proposed order is attached.
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 Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that the foregoing document was served by ECF electronic filing on all known
 parties on this the 22nd day of February 2022.


                                                   /s/ Richard M. Schreiber
                                                   Richard M. Schreiber




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